












Dismissed and Memorandum Opinion filed July 1, 2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-00421-CV

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&nbsp;

TOMEKA THORNELL PIERRE, Appellant

&nbsp;

V.

&nbsp;

JAMIL M. PIERRE, Appellee

&nbsp;



&nbsp;

On Appeal from the 257th District Court

Harris County, Texas

Trial Court Cause No. 2009-27551

&nbsp;



&nbsp;

MEMORANDUM
OPINION

This appeal is from a judgment signed May 3, 2010.&nbsp; No clerk’s
record has been filed.&nbsp; The clerk responsible for preparing the record in this
appeal informed the court appellant did not make arrangements to pay for the
record.&nbsp; 

On June 1, 2010, notification was transmitted to all parties
of the court’s intention to dismiss the appeal for want of prosecution unless,
within fifteen days, appellant paid or made arrangements to pay for the record
and provided this court with proof of payment.&nbsp; See Tex. R. App. P.
37.3(b).

Appellant has not provided this court with proof of payment
for the record. Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Anderson, Frost, and Seymore. 

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